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                    IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVSION

JASON STIER, on behalf of himself   )
and others similarly situated,      )
                                    )
      Plaintiff,                    )
                                    )
vs.                                 )    Case no.: 4:15-cv-0519
                                    )
GREAT PLAINS NATIONAL BANK          )
                                    )
      Defendant.                    )

       PLAINTIFF’S MOTION FOR CONDITIONAL CLASS CERTIFICATION




                           Exhibit I
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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS

                                   Jason Stier, et al. v. Great Plains National Bank
                                                Case No.: 4:15-cv-0519

                       IMPORTANT NOTIFICATION TO POTENTIAL CLASS MEMBERS

                  Court Approved Notice. Please read carefully. Your legal rights may be affected.

TO:    All current and former mortgage loan officers working for Great Plains National Bank from ____, 2012
       to the present.

RE:    Claim for Overtime Pay under the Fair Labor Standards Act.

                                                1.      Introduction

        The purpose of this Notice is to: (i) inform you of the existence of a collective action lawsuit against
Defendant Great Plains National Bank (hereafter collectively referred to as “Great Plains”) for overtime and
minimum wage compensation under the Fair Labor Standards Act (“FLSA”), (ii) to advise you of how your
rights might be affected by this lawsuit, and (iii) to instruct you on the procedure for participating in this lawsuit.

                                       2.      What is this Lawsuit About?

         Jason Stier (“Plaintiff”) brought this lawsuit against Great Plains on behalf of himself and all other
current and former mortgage loan officers who were employed with Great Plains from ___, 2012 to the present.
Plaintiff contends that Great Plains failed to properly pay overtime compensation under the FLSA for hours
worked in excess of forty (40) per week. Plaintiff sued Great Plains to recover this compensation. Plaintiff also
seeks liquidated damages in an amount equal to the alleged unpaid wages, and attorneys’ fees and costs. If
you elect to join this matter, you will not be responsible for any attorneys’ fees incurred by the Plaintiff, except
to the extent that the Court may deduct a reasonable amount from your award to pay the attorneys for their
services in representing you as part of the class.

Great Plains denies liability and contends that it properly compensated its mortgage loan officers as required
by law and that it complied with the FLSA in good faith.

                                      3.      Who are the Class Members?

        Plaintiff filed this lawsuit on behalf of: All current and former mortgage loan officers employed by Great
Plains from _____, 2012 to the present who worked more than forty hours in any workweek and did not receive
overtime and/or were not paid minimum wage for all hours worked in any given workweek.

                          4.      How to Participate & Effect of Joining the Lawsuit?

        Enclosed you will find a form entitled “Consent to Become a Party Plaintiff” (“Consent Form”). If you
worked for Great Plains as a loan officer or loan originator, you were denied overtime pay, and you wish to join
this lawsuit as a party-plaintiff, you must file a Consent Form. It is extremely important that you read, sign
and return the enclosed Consent Form if you chose to participate in this collective action.




Questions? Call toll-free 1-844-272-9604.                                                                Page 1 of 2
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        While the lawsuit is pending, you may be required to assist Plaintiff’s counsel in this matter. If you
choose to file a Consent Form, your continued right to participate in this suit may depend on a later
determination by the Court that you and the Plaintiff are actually “similarly situated” in accordance with federal
law and that your claim has been filed within the applicable statute of limitations. If you complete the enclosed
Consent Form, you will be designating Plaintiff and his attorneys to act on your behalf and to represent your
interests.

        Your decision to participate in this lawsuit is no guarantee that you will recover any money from Great
Plains. If you join this lawsuit, you will be bound by the judgment of the Court, whether it is favorable or
unfavorable to you, or any settlement of this action that may later be approved by the Court as fair and
reasonable. This means that if the employees who join the lawsuit win or receive a settlement, you may be
eligible to share in the monetary award; if the employees lose, no money will be awarded, and you will not be
able to file another lawsuit regarding the matters addressed in this lawsuit. In addition, if the employees lose it
is possible that the individuals who joined the lawsuit could be liable for Great Plains’s costs in defending the
lawsuit.

                               5.             What if I decide Not to Join the Lawsuit?

        If you do not file a consent form to join this case, you will not participate in this lawsuit and will not be
bound by any judgment or settlement. This means that if the employees who join the lawsuit win, you will not
be eligible to share in the monetary award; if the employees lose, you will not be bound by that judgment. If
you so choose, you may pursue your claim on your own. The pendency of this current lawsuit, however, will
not stop the running of your statute of limitations as to any FLSA wage claims you might have unless you opt-in
by returning the Consent Form.

                                    6.         Is there a Deadline to Join this Lawsuit?

      The enclosed Consent Form must be returned within sixty (60) days from the date of this notice, i.e.
postmarked or faxed no later than ______, 2016.

                  7.      Can Great Plains Retaliate Against me for Joining this Lawsuit?

        Under the law, it is illegal for Great Plains to terminate you or retaliate against you because you have
joined and/or participated in this lawsuit.

                        8.      No Opinions Expressed as to the Merifs of this Case

        This Notice is for the sole purpose of providing current and former loan officers and loan originators
with information concerning their right to join this lawsuit. The Court has expressed no opinion regarding the
merits of Plaintiff’s claims or Great Plains’s liability, if any, and individual claims may be subject to later
dismissal if the Court ultimately finds that the claims lack merit or that they cannot be litigated on a class-wide
basis.

                                         9.      Questions Regarding this Notice

       PLEASE DO NOT CONTACT THE COURT REGARDING THIS NOTICE. If you have any questions
regarding this notice, you can contact the attorneys representing the Plaintiff in this matter: Brendan J.
Donelon, 420 Nicols Rd., Ste. 200, Kansas City, Missouri 64112; Brendan@donelonpc.com; 1-844-492-6868.




Questions? Call toll-free 1-844-492-6868.                                                              Page 2 of 2
